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Attorneys for Defendant


               IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF ALASKA

TOM TOM; LAURA NIGHT for  ) Case No. 3:14-cv-00208-JWS
Herself and as Personal   )
                          ) NOTICE OF SETTLEMENT
Representative of the Estate of
Caleb Night, deceased,    )
                          )
              Plaintiff,  )
                          )
     vs.                  )
                          )
UNITED STATES OF AMERICA, )
                          )
              Defendant.

      The United States, through counsel, notifies the Court that the parties

have reached a negotiated settlement of the claims in this action. A

Stipulation for Dismissal with a proposed Order will be filed when the

settlement documents and procedures are completed.




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       RESPECTFULLY SUBMITTED on October 14, 2015, at Anchorage,

Alaska.

                                                    KAREN L. LOEFFLER
                                                    United States Attorney

                                                    s/E. Bryan Wilson
                                                    E. BRYAN WILSON
                                                    Assistant U. S. Attorney




CERTIFICATE OF SERVICE

I hereby certify that on October 14, 2015
a copy of the foregoing was served via electronic
service on:

David Henderson

s/E. Bryan Wilson
Office of the U.S. Attorney




Tom Tom and Laura Night, PR Est of Caleb Night v. U.S.A.
Case No. 3:14-v-00208-JWS
                                      2
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